Case 1:05-cr-10056-.]DT Document 23 Filed 08/03/05 Page 1 of 2 Page|D 26

UNITED STATES DISTRICT COURT 05
WESTERN DISTRICT OF TENNESSEE 406 \O
Eastern Division

   

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"' '»-” rae»r@¢’/f?/”
_vs_ ease No. izoscrioose-Mtr

MICHAEL CREWS

 

ORDER OF DETENT|ON PEND|NG TRIAL
FIND|NGS
ln accordance with the Bail Reform Act, 18 U.S.C. § 3142(t), a detention hearing has been
held. The following facts and circumstances require the defendant to be detained pending trial.

The defendant makes no application for release at this time. A motion for conditions
of release and a detention hearing may be filed at a later date.

D|RECT|ONS REGARD|NG DETENT|ON

lV[lCHAEL CREWS is committed to the custody ofthe Attomey General or his designated representative for
confinement in a corrections facility separate, to the extent practicable, from persons awaiting or serving sentences or
being held in custody pending appeal. MICHAEL CREWS shall be afforded a reasonable opportunity for private
consultation with defense counsel. On order of a Court of the United States or on request of an attorney for the
government, the person in charge of the corrections facility shall deliver the Defendant to the United States marshal for
the purpose of an appearance in connection with a Court proceeding

Date: /\ugusl£,ZO()§ § 72@47/,?)££-»

S. THOMAS ANDERSON
UNITED STATES MAGISTRATE JUDGE

Thls document entered on the docket sheet In compliance

warn nine ss and/or sam mch on _ 353 195

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 23 in
case 1:05-CR-10056 was distributed by faX, mail, or direct printing on
August 3, 2005 to the parties listed.

 

J. Colin Morris

MOSIER & l\/IORRIS7 P.A.
204 W. Baltimore

Jackson, TN 38302--162

J ames W. Powell

U.S. ATTORNEY'S OFFICE
109 S. Highland Ave.

Ste. 300

Jackson, TN 38301

Honorable J ames Todd
US DISTRICT COURT

